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14   individually and on behalf of all others similarly situated
15
                                      UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                         SAN FRANCISCO DIVISION
18

19
     JAMES P. BRICKMAN, individually and as a              Case No. 3:15-cv-2077-JD
20   representative of all others similarly situated,
21                      Plaintiffs,                        MCLELLAN PLAINTIFFS’
                                                           OPPOSITION TO FITBIT, INC.’S
22   v.                                                    ADMINISTRATIVE MOTION TO
                                                           CONSIDER WHETHER CASES
23   FITBIT, INC.,                                         SHOULD BE RELATED
24                      Defendant.                         Ctrm: 11, 19th Floor
25                                                         The Honorable James Donato
26                                                         Date Filed: May 8, 2015
27

28
                                                           MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
                                                              CONSIDER WHETHER CASES SHOULD BE RELATED
     1291647.1                                                                             NO. 3:15-CV-2077-JD
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 1               Plaintiffs in McLellan v. Fitbit, Inc., 3:16-cv-0036-VC (“McLellan”) respectfully oppose
 2   Fitbit’s administrative motion to relate this case to Brickman v. Fitbit, Inc., 3:15-cv-2077-JD
 3   (“Brickman”). Despite the facial appeal of Fitbit’s motion, a closer look at the facts and claims at
 4   issue reveals that the criteria for relation are not met and that judicial economy will not be served
 5   by joining the cases before a single judge. As detailed below, the two actions involve different
 6   parties, different products, different representations about those products, and different claims.
 7   Relating the cases, therefore, will not minimize discovery, expense, or conflicting results,
 8   especially since counsel for plaintiffs in both actions have agreed to cooperate to reduce any
 9   burden on Fitbit or the Court. See L.R. 3-12 (defining relation). The McLellan Plaintiffs thus
10   respectfully request that the Court deny Fitbit’s Administrative Motion to Consider Whether
11   Cases Should Be Related.
12   I.          The Cases Concern Different—Indeed, Entirely Distinct—“Parties, Property,
                 Transaction[s and] Event[s].”
13
                 Upon close review it becomes clear that the only thread joining the two cases is the
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     defendant and its counsel. The differences between the actions far overwhelm this single
15
     commonality. The remaining parties and their counsel, and the property, transactions, and events
16
     at issue in the two cases simply are not “substantially the same” and, in fact, are entirely distinct.
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                 The McLellan action is based on Fitbit’s allegedly false representations about the heart
18
     rate monitoring functionality found in just two of Fitbit’s activity trackers: the “Charge HR™”
19
     and the “Surge™.” Those models did not become available for purchase until at least December
20
     2014.1 No Plaintiff in McLellan—and, by definition no member of the proposed class in
21
     McLellan—purchased her device before December 2014. By contrast, the claims in Brickman
22
     relate exclusively to the sleep tracker functionality in certain Fitbit devices, and the Brickman
23
     class definition expressly excludes any consumer who purchased her device on or after October
24
     1
25     Ex. A (Fitbit’s October 27, 2014, Press Release) (Fitbit announces that the Charge HR and
     Surge will become available in “early 2015”); Ex. B (Michael Rogeau, Fitbit is releasing a
26   limited number of Charge HR and Surge trackers early, TechRadar (Dec. 5, 2014), available at
     http://www.techradar.com/us/news/portable-devices/other-devices/fitbit-is-releasing-a-limited-
27   number-of-charge-hr-and-surge-trackers-early-1275687) (quoting Fitbit spokesperson discussing
     early, limited release of Charge HR and Surge in December 2014); Ex. C (Fitbit’s January 6,
28   2015, Press Release) (Fitbit announces availability of Charge HR and Surge in January 2015).
                                                               MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
     1291647.1
                                                        -1-       CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   27, 2014. See Brickman, Fourth Amended Complaint, Doc. 60 at ¶¶ 60-61. While the Brickman
 2   complaint purports to include the Charge HR and Surge, the temporal limitations on the Brickman
 3   class confirm that those devices are not and cannot be at issue in that case.
 4               The two cases therefore do not involve a single overlapping plaintiff, class member, or
 5   product. See L.R 3-12. Fitbit presumably knows well when it began selling its own products,
 6   making its assertion that “the members of the purported McLellan class are members of the
 7   purported Brickman class” disingenuous at best and, more to the point, wrong. Fitbit Mot. at 1
 8   (Brickman Doc 66). The “property”—the Fitbit models at issue—are entirely distinct. And the
 9   “parties” certainly are not substantially the same: the fact that both lawsuits involve the same
10   defendant and defense counsel cannot possibly sustain relation when the plaintiffs, proposed
11   classes, and plaintiffs’ counsel are all entirely distinct.
12               The “transactions” and “events” at issue in the two cases are also entirely distinct. The
13   actions concern purchase transactions by different plaintiffs and class members of different
14   products during a different time frame. The claims in McLellan relate to a functionality—the
15   heart rate monitor—not found in any of the Fitbit products that will ultimately be at issue in
16   Brickman, and arise from different representations Fitbit made about those products and features
17   during a different time period. Fitbit’s view would essentially mean that any suit against a
18   company about one product would automatically relate to any other suit against the company
19   about any other product. This is not the law. Thus, for the reasons stated above, Brickman and
20   McLellan do not “concern substantially the same parties, property, transaction or event,” and the
21   first prong of this District’s test for relation cannot be satisfied. L.R. 3-12.
22   II.         Relating The Actions Will Not Minimize Discovery, Expense, or Conflicting Results.
23               Fitbit also fails to satisfy the second prong of relation. Fitbit strenuously argues that
24   relation is necessary to avoid “conflicting rulings” on “the enforceability of the arbitration and
25   class action waiver clauses in Fitbit’s Terms of Sale [sic].”2 Fitbit’s Mot. at 2. But this argument
26   is a straw man. The rule on relation speaks to conflicting results, not conflicting rulings. L.R. 3-
     2
27     Fitbit’s “Terms of Service” are at issue in McLellan, not its “Terms of Sale.” This apparent
     typo is telling: Plaintiffs expect that Fitbit will argue that its Terms of Service attach to the sale of
28   the devices, when in fact those terms are sprung on consumers only post-purchase.
                                                                 MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
     1291647.1
                                                         -2-        CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   12. Accordingly, this Court recently observed that the possibility that different judges “might
 2   come to a different conclusion on application of law” standing alone is “not a reason to relate.”
 3   In re Capacitors Antitrust Litigation, No. 3:14-cv-03264-JD, Hr’g. Tr. 40:7-16, Doc. 922 (Oct.
 4   17, 2015).
 5               Even if the potential for inconsistent rulings alone were a reason to relate, which it is not,
 6   that rationale would not counsel relation here. Well before the McLellan Plaintiffs filed their
 7   action, Fitbit “agreed to withdraw” its motion to compel arbitration in Brickman after plaintiffs’
 8   counsel agreed to substitute the only plaintiff who was arguably subject to the disputed arbitration
 9   clause. Brickman, Hr’g. Tr. 8:2-10, Doc. 52 (Nov. 10, 2015). As a result, the Court did not and
10   will not “decide the arbitration motion.” Id. Thus, regardless of how Judge Chhabria ultimately
11   rules on any arbitration motion, his ruling cannot conflict with any ruling by this Court since there
12   is none.
13               Similarly unavailing is Fitbit’s argument that the cases should be related because they
14   both involve “consumer deception” and invoke some of the same statutes. Fitbit’s Mot. at 2. Of
15   course, it is often the case that a manufacturer may be subject to multiple lawsuits involving
16   different (and, as is not the case here, sometimes identical) products, broadly based on the same
17   consumer protection or warranty laws. That does not render them “related” as defined in this
18   District, especially where, as here, the actions are brought by entirely distinct plaintiffs and class
19   members, and involve entirely different products and representations about those products.3
20               Likewise, and for all the reasons explained above, the cases will not involve significant
21   overlap in discovery. The discovery in McLellan will involve only the Charge HR and Surge—
22   products that, given the class definition, will not be at issue in Brickman. More fundamentally,
23   the Brickman and McLellan actions are based on, and will seek discovery about, two entirely
24   different functionalities. The technologies behind the heart rate sensor and sleep tracker are
25   completely unrelated. And most of the advertisements and representations at the core of the
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     3
       Again, by Fitbit’s theory, any patent infringement case brought against Apple based on the
27   iPhone would be related, even if the cases involved different patent holders and implicated
     completely different technologies within the phone. This is contrary to the District’s nuanced test
28   for relation.
                                                                 MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
     1291647.1
                                                         -3-        CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   McLellan action make no mention whatsoever of sleep tracking. A sampling of these
 2   representations can be found in the McLellan Amended Complaint at paragraphs 31-34. Other
 3   examples include the nationally-televised “Know Your Heart” advertisement (available at
 4   https://www.youtube.com/watch?v=vpdHMyvkJxw) and the Surge promotional video (available
 5   at https://www.fitbit.com/surge).
 6               In sum, the actions do not overlap and certainly are not similar enough to give rise to an
 7   “unduly burdensome duplication of labor and expense” if they are not related. L.R. 3-12
 8   (emphasis added). Moreover, class counsel in McLellan agree that to the extent such issues do
 9   arise—and again, it is unlikely they will—they will cooperate with Brickman counsel to minimize
10   any potential duplication and reduce the burden on Court and counsel. Brickman counsel have
11   informed McLellan counsel that they will do the same.
12   III.        Conclusion
13               As described above, Brickman and McLellan concern:
14                  •   Distinct, non-overlapping classes and class counsel;
15                  •   Distinct, non-overlapping products;
16                  •   Distinct, non-overlapping product features;
17                  •   Distinct, non-overlapping representations about those products and features; and
18                  •   Distinct, non-overlapping discovery.
19   Fitbit has not established and cannot establish that the elements for relation are met. As a
20   practical matter, joining the cases before a single judge will not ease any burden on the Court or
21   counsel and will not advance judicial economy. Plaintiffs therefore respectfully request that the
22   Court deny the Administrative Motion to Consider Whether Cases Should Be Related.
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                                                               MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
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                                                        -4-       CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   Dated: February 8, 2016         Respectfully submitted,
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                                                    MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
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 1                                       CERTIFICATE OF SERVICE
 2               On February 8, 2015, I electronically filed this document through the ECF system in
 3
     Brickman v. Fitbit, Inc., No. 3:15-cv-02077-JD, which will send a notice of electronic filing to all
 4
     counsel of record in Brickman, as well as counsel representing the defendant in McLellan v.
 5
     Fitbit, Inc., No. 3:16-cv-00036-VC.
 6

 7

 8                                                           /s/ Jonathan D. Selbin
                                                                Jonathan D. Selbin
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                                                             MCLELLAN PLS.’ OPP TO FITBIT, INC.’S ADMIN MOT. TO
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